            Case 1:21-mj-00488-RMM Document 10 Filed 07/08/21 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA      :
                                :                        CRIMINAL NO. 21-mj-488
             v.                 :
                                :
  MITCHELL TODD GARDNER II,     :
                                :
                     Defendant. :

                                             ORDER

        On July 8, 2021, Defendant appeared before the undersigned magistrate judge for an

initial appearance. Defendant appeared remotely from the Pinella County Jail in the Middle

District of Florida. During the hearing, counsel for the United States withdrew its request that

Defendant be detained pending trial. The undersigned therefore Ordered Defendant released on

conditions, which will be outlined fully in a release order to be issued by this Court. It is hereby

        ORDERED that Defendant be released from custody forthwith. Any questions regarding

this Order shall be directed to my law clerk at Harvey_Criminal@dcd.uscourts.gov or 202-354-

3493.

        So Ordered.                                                              G. Michael Harvey
                                                                                 2021.07.08
                                                                                 16:31:11 -04'00'
                                                     G. Michael Harvey
                                                     United States Magistrate Judge
